          Case 2:23-cv-00357-JHE Document 14 Filed 07/03/23 Page 1 of 1                                   FILED
                                                                                                  2023 Jul-03 PM 04:40
                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 VANESSA KING,                                      )
                                                    )
        Plaintiff,                                  )
                                                    )
 v.                                                 )   Case No.: 2:23-cv-00357-JHE
                                                    )
 HEALTHCARE REVENUE RECOVERY                        )
 GROUP, LLC,                                        )
                                                    )
        Defendant.

                        CLERK’S COURT MINUTE ENTRY
                 DISMISSAL PURSUANT TO VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff has

voluntarily dismissed this action with prejudice.

       Therefore, at the direction of the Honorable John H. England, III, this case is closed.

DATED: July 3, 2023

                                                        GREER M. LYNCH, CLERK

                                                        By:__Krysti Miller___________________
                                                              Deputy Clerk
